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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                  Affidavit Requesting
                                                           Order of Continuance
                        v.
                                                           No. 24 Mag. 3535
 MOHAMED BAHI,

                                     Defendant.


State of New York                             )
County of New York                            ) ss.:
Southern District of New York                 )

       Derek Wikstrom, pursuant to Title 28, United States Code, Section 1746, hereby declares

under penalty of perjury that the following is true and correct:

       1.      I am an Assistant United States Attorney in the Office of the United States Attorney

for the Southern District of New York. I submit this affirmation in support of an application for an

order of continuance of the time within which an indictment or information would otherwise have

to be filed, pursuant to 18 U.S.C. § 3161(h)(7)(A).

       2.      The defendant was charged in a complaint dated October 7, 2024, with witness

tampering in violation of 18 U.S.C. § 1512, and destruction of records in violation of 18 U.S.C.

§ 1519. The defendant was arrested on October 8, 2024, was presented before Magistrate Judge

Robert W. Lehrburger on October 8, 2024, and was ordered to be released on bail subject to certain

conditions. At the presentment, defense counsel consented to a waiver of his client’s right pursuant

to Federal Rule of Criminal Procedure 5.1 to a preliminary hearing within 21 days of the initial

appearance. Accordingly, under the Speedy Trial Act the Government initially had until November

7, 2024, within which to file an indictment or information.
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       3.      After his presentment, new defense counsel, Derek Adams, Esq., appeared on

behalf of the defendant. Defense counsel and the Government have had discussions regarding a

possible disposition of this case. The discussions have not been completed and we plan to continue

our discussions, but do not anticipate a resolution before the deadline under the Speedy Trial Act

expires on November 7, 2024.

       4.      Therefore, the Government is requesting a 30-day continuance until December 9,

2024, to continue the foregoing discussions and reach a disposition of this matter. Defense counsel

has consented to this request.

       5.      For the reasons stated above, the ends of justice served by the granting of the

requested continuance outweigh the best interests of the public and the defendant in a speedy trial.

Dated: New York, New York
       November 5, 2024




                                              Derek Wikstrom
                                              Assistant United States Attorney
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